                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION


 UNITED STATES OF AMERICA,             )
                                       )
               Plaintiff,              )       No. 17-CR-00011-LRR
                                       )
        vs.                            )
                                       )
 FADI YASSINE,                         )
                                       )
               Defendant.              )


                        SENTENCING MEMORANDUM

      The United States submits the following information regarding the upcoming

sentencing hearing in this matter:

I.    WITNESSES

      The United States anticipates it may call the following witnesses:

      A. Chris Cantrell, HSI Special Agent

      B. Tim Hunt, ATF Special Agent

II.   EXHIBITS

      The United States will offer the following exhibits:

      1. List of Recovered Guns by Date of Recovery

      2. List of Known Gun Purchases by Name of Purchaser

      3. Facebook messages




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III.    CONTESTED ISSUES

        The government anticipates the Court may need to resolve the following issues

at sentencing:

               1. Number of Firearms, PSR ¶ 44, USSG §2K2.l(b)(1);

               2. Enhancement for possessing or transferring firearm(s) with knowledge,
                  intent or reason to believe firearm(s) would be transported out of the
                  United States, PSR ¶ 44, USSG §2K2.1(b)(6)(A);
               3. Upward Departure or Variance Based Upon Number of Guns, PSR ¶ 120,
                  (USSG § 2K2.1, comment. (n.13(C));

               4. Defendant’s Motions for Downward Departure/Variance, PSR ¶ 120, USSG
                  §§ 5H1.6, 5K2.0.

        A brief in support is attached.



                                                     Respectfully submitted,
       CERTIFICATE OF SERVICE

  I hereby certify that on July 17, 2017, I          SEAN R. BERRY
  electronically filed the foregoing with the
  Clerk of Court using the ECF system which          Acting United States Attorney
  will send notification of such filing to the
  parties or attorneys of record.
                                                     By,   Richard L. Murphy
  UNITED STATES ATTORNEY

  BY: /s/lsm                                         RICHARD L. MURPHY
                                                     Assistant United States Attorney
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